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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ERIC R. SHANTZER, DDS d/b/a
RICHBORO DENTAL EXCELLENCE,
                                        Case No. 2:20-cv-02093
          Plaintiff,

     v.

TRAVELERS CASUALTY INSURANCE
COMPANY OF AMERICA, THE
TRAVELERS INDEMNITY COMPANY,

          Defendants.

         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
      THEIR MOTION TO DISMISS THE FIRST AMENDED COMPLAINT




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I.     INTRODUCTION

       The COVID-19 pandemic has affected the public and most businesses throughout the

country in unprecedented ways. But these challenging and unfortunate circumstances do not

create insurance coverage for losses that fall outside the terms of a policyholder’s insurance

contract.

       Plaintiff Eric R. Shantzer, DDS d/b/a Richboro Dental Excellence (“Plaintiff” or

“Shantzer”) asks this Court to declare that he is entitled to insurance coverage for the claimed

business income losses of his dental practice, allegedly caused by orders issued by Pennsylvania

Governor Tom Wolf and the Pennsylvania Department of Health to combat the spread of
                            1
COVID-19 (the “Orders”). But Plaintiff ignores the material terms of his Travelers Casualty

Insurance Company of America (“Travelers”) insurance policy (the “Policy”), which does not

provide coverage for his claimed losses.

       The First Amended Complaint (“FAC”) focuses primarily on Civil Authority coverage,

which has three essential prerequisites: (1) “action of civil authority that prohibits access to the

described [i.e., insured] premises”; (2) the civil authority action is “due to direct physical loss of

or damage to property at locations, other than [the insured] premises, that are within 100 miles

of the [insured] premises”; and (3) the direct physical loss of or damage to property is “caused by




1
  Other similar COVID-19-related suits seeking coverage for business income losses have been
filed by other plaintiffs against other insurers in this Court, and similar cases are pending in
numerous other federal and state courts across the country. Two motions for transfer and
coordination or consolidation under 28 U.S.C. § 1407 have been filed with the Judicial Panel on
Multidistrict Litigation (“JPML”) in In re: COVID-19 Business Interruption Protection
Insurance Litigation, MDL No. 2942. Travelers has opposed the motions for transfer and
coordination or consolidation. The JPML hearing on the motions is scheduled for July 30, 2020.


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                                                                                               2
or resulting from a Covered Cause of Loss.” (Doc. 14-1, at p. 34 of 174 (emphasis added)). The

facts alleged demonstrate that Plaintiff cannot satisfy any of these three essential requirements.

First, Plaintiff fails to allege facts capable of establishing that the Orders “prohibited access” to

his premises. To the contrary, in the FAC, Plaintiff acknowledges that emergency or urgent

treatment in a dental office was permitted under the Orders and alleges he did not perform such

services because of a lack of personal protection equipment (“PPE”). (FAC, ¶ 61). Courts

nationwide have repeatedly held that to “prohibit access” requires that government authorities

completely prevent access to the premises. Plaintiff’s admission that, under the Orders, Plaintiff

was permitted to provide emergency/urgent treatment at his offices is fatal to his claim for Civil

Authority coverage.

       Second, Plaintiff fails to allege that the Orders were “due to direct physical loss of or

damage to property at locations, other than [the insured] premises, that are within 100 miles of

the [insured] premises.” To the contrary, Plaintiff alleges, and the Orders reflect, that they were

issued for purposes of “social distancing” and to slow the spread of COVID-19. (E.g., FAC, ¶¶

48, 72; Doc. 14-2, at p. 2 of 4).

       Third, any claimed physical loss of or damage to property elsewhere was not caused by a

Covered Cause of Loss. The Policy includes an explicit exclusion of any type of coverage,


2
  Because the Policy is attached as Exhibit 1 to the FAC, the Court may properly consider it on
this motion. See Fed. R. Civ. P. 10(c) (“A copy of a written instrument that is an exhibit to a
pleading is a part of the pleading for all purposes.”); Pension Ben. Guar. Corp. v. White Consol.
Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993) (noting that, on motion to dismiss, court may
consider “exhibits attached to the complaint and matters of public record”); see also Fasano v.
Allstate Indem. Co., 2017 WL 3215420, *2 n.2 (E.D. Pa. July 28, 2017) (“Because the insurance
policy is integral to Plaintiff’s Complaint, we may consider its contents on this Motion to
Dismiss even though it was not attached to Plaintiff’s Complaint.”); Toner v. GEICO Ins. Co.,
262 F. Supp. 3d 200, 206 n.3 (E.D. Pa. 2017) (“In a breach of contract claim involving an
insurance policy, the insurance policy at issue may be considered because the plaintiff's claims
are based on that document.”).


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including Civil Authority coverage, for any “loss or damage caused by or resulting from any

virus, bacterium or other microorganism that induces or is capable of inducing physical distress,

illness or disease.” (Doc. 14-1, at p. 150 of 174). Plaintiff attempts to avoid the virus exclusion—

which Plaintiff does not dispute applies to the Coronavirus, (see FAC, ¶¶ 27, 35)—primarily by

arguing that his claimed losses were caused by the Orders, and that the Orders somehow caused

“physical loss” of property at non-insured locations, (e.g., id., ¶¶ 34-35). This argument fails as

a matter of law because: (1) as Plaintiff alleges at great length in the FAC, the Orders were

issued to slow the spread of the Coronavirus, and they cannot be divorced from the reason they

were issued; and (2) under the Civil Authority provision, the alleged physical loss of or damage

to property elsewhere must result in the civil authority action, not vice versa; to read the Policy

as Plaintiff suggests would be nonsensical, and read the Civil Authority provision backwards.

       To the extent that, in addition to seeking Civil Authority coverage, Plaintiff also seeks

coverage under the Policy’s Business Income and Extra Expense provisions, those provisions

require a necessary suspension of business operations caused by (1) “direct physical loss of or

damage to property at [Plaintiff’s] premises,” and (2) such “loss or damage must be caused by or

result from a Covered Cause of Loss.” (Doc. 14-1, pp. 21-22 of 174). Again, Plaintiff’s factual

allegations fail to satisfy either of these essential requirements. Plaintiff does not allege that

anything happened to any property at his offices; instead, he alleges that he was unable to use his

offices to provide dental services because he lacked PPE. (FAC, ¶ 61). As discussed below, no

court has ever held that the mere loss of use of property, without an accompanying physical

alteration or manifestation, constitutes “direct physical loss of or damage to property at [the




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insured] premises.” Moreover, even if Plaintiff could allege the requisite physical loss of or

damage to property at the insured premises, he has not pleaded and cannot plead that any such

physical loss or damage to property was caused by a Covered Cause of Loss.

       Finally, in addition to the virus exclusion, the Policy includes other applicable exclusions,

including an Acts or Decisions exclusion and an Ordinance or Law exclusion, (Doc. 14-1, at pp.

41, 45 of 174), both of which preclude coverage for loss or damage caused by a governmental

order of the type at issue here (apart from a covered claim for Civil Authority coverage, and,

again, Plaintiff has failed to satisfy the requirements for Civil Authority coverage). Thus, even if

one were to assume for purposes of argument that the virus exclusion does not apply (which it

does), there still would be no coverage, as a matter of law.

       Because the FAC does not plead facts sufficient to support Plaintiff’s entitlement to

coverage under the Policy, Plaintiff is not entitled to the declaratory relief sought. And, again,

even if Plaintiff could have pled the factual requirements for coverage, Plaintiff’s alleged

financial losses—which result from the Coronavirus—would still be expressly excluded by the

virus exclusion (and other applicable exclusions). As a result, the FAC should be dismissed with

prejudice because, as a matter of law, Plaintiff has not pleaded, and cannot plead, facts capable

of demonstrating entitlement to coverage under the Policy.




3
 Even if one were to assume for purposes of argument that the presence of a virus somehow
suffices to constitute direct physical loss of or damage to property (which it does not), that
assumption would not help Plaintiff. The FAC acknowledges that “Plaintiff does not seek any
determination of whether the Coronavirus is physically in or at the Insured Premises.” (FAC, ¶
82).


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II.    PROCEDURAL HISTORY AND ALLEGED FACTS

       A.      This Lawsuit

       Plaintiff owns and operates two dental offices in Richboro and Southampton,

Pennsylvania (the “Offices”). (FAC, ¶ 9). He commenced this action on April 30, 2020, against

“Defendant, Travelers Casualty Insurance Company of America and/or The Travelers Indemnity

Company.”4 (Doc. 1, at p. 1). Plaintiff alleges that the Policy insures losses of “business income

and additional expenses” that are “a result of the Orders” relating to the “Coronavirus” and the

“global pandemic.” (FAC ¶¶ 2, 10-13, 15, 17, 29, 47-49, 58-59, 75). The Policy, which is

attached as Exhibit 1 to the FAC, was issued by Travelers Casualty Insurance Company of

America. (See Doc. 14-1, p. 5 of 174).

       According to the FAC, on March 19, 2020, Governor Wolf issued “an Order requiring all

non-life-sustaining businesses in [the] Commonwealth to cease operations and close all physical

locations.” (FAC, ¶ 48; Doc. 14-3). The FAC alleges that the Orders were issued because the

“operation of non-life-sustaining businesses present the opportunity for unnecessary gatherings,

personal contact and interaction that will increase the risk of transmission and the risk of

community spread of COVID-19” and to “mitigate health risks to the public by attempting to

prevent COVID-19 contamination.” (FAC, ¶¶ 49, 72). Plaintiff admits, however, that

emergency/urgent treatment performed in a dental office was exempt from the Orders. (Id., ¶¶

60-61). Plaintiff alleges that he did not provide emergency/urgent services because “he was not



4
  The Policy reflects that it was issued by defendant Travelers Casualty Insurance Company of
America, not by defendant The Travelers Indemnity Company (“Travelers Indemnity”). (Doc.
14-1, p. 5 of 174). Thus, Travelers Indemnity is entitled to dismissal with prejudice not only
because, as set forth herein, Plaintiff has not pleaded, and cannot plead, facts capable of
demonstrating entitlement to coverage under the Policy, but also because Plaintiff has failed to
allege any basis for suing Travelers Indemnity, which did not issue the Policy that is the subject
of Plaintiff’s sole cause of action for declaratory relief.


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in possession of the Personal Protection Equipment (‘PPE’) necessary,” which was “difficult if

not impossible to obtain.” (Id., ¶ 60). Plaintiff expressly acknowledges that he is not seeking a

determination that the Coronavirus was “physically in or at the Insured Properties.” (Id., ¶ 82).

       Plaintiff seeks a declaration that he is entitled to coverage for business income and extra

expense losses, including under the Policy’s Civil Authority provision. (FAC, ¶¶ 14, 15, 75, 78).

The FAC frames nine purported insurance coverage issues for which Plaintiff seeks declaratory

judgment: (1) that the Orders “constitute a prohibition of access to Plaintiff’s Insured

Properties”; (2) that the “prohibition of access by the Orders is specifically prohibited access as

defined in the Policy”; (3) that the Orders “trigger coverage under the Policy”; (4) “that the

Policy provides coverage to Plaintiff for any current and future closures in Bucks County due to

physical loss or damage directly or indirectly from the Coronavirus and/or pandemic

circumstance under the Civil Authority coverage parameters”; (5) “that the Policy’s exclusions

for virus and bacteria do not apply to the circumstances presented in the lawsuit and the kind and

types of damages and losses suffered by Plaintiff”; (6) “that Defendant’s denial of coverage for

losses sustained that were caused by the entry of the Civil Authority Orders referenced, and

Plaintiff’s adherence to the Civil Authority Orders violates public policy”; (7) that “under the

circumstances of this Pandemic and the entry” of the Orders, Plaintiff “had no choice but to

comply with the Civil Authority Orders, and that Plaintiff’s compliance resulting in Plaintiff

suffering business losses, business interruption and extended expenses is therefore a covered

expense”; (8) “that the Policy provides coverage to Plaintiff for any current, future and continued

closures of non-essential businesses due to physical loss or damage directly or indirectly from

the Coronavirus”; and (9) that “the Policy provides business income coverage in the event that

Coronavirus has directly or indirectly caused a loss or damage at the Plaintiff’s Insured




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Properties or in the immediate area of the Plaintiff’s Insured Properties.” (FAC, pp. 16-17

(Prayer for Relief)).

       B.      Contract Language At Issue

               1.       The Relevant Coverage Provisions

       Plaintiff purchased from Travelers an Office Pac Policy, a type of insurance policy for

businesses and other commercial organizations, which insured his business personal property

(such as dental equipment and office furniture) from covered causes of loss (such as a fire or

windstorm). When a covered cause of loss results in physical loss of or damage to the insured

property which forces Plaintiff to suspend his operations, the Policy also provides limited

coverage for business income losses and extra expenses incurred by Plaintiff during the period of

restoration. For example, in the event of a fire that requires a suspension of business operations,

the Policy would cover a loss of business income or increase in expenses that results from the

suspension of operations caused by the fire damage and occurs during the “period of

restoration”—i.e., while the repairs are being made. The Business Income and Extra Expense

coverage provides, in relevant part:

               a. Business Income
                  ...
                  (2) We will pay for the actual loss of Business Income you sustain due
                      to the necessary “suspension” of your “operations” during the
                      “period of restoration”. The “suspension” must be caused by
                      direct physical loss of or damage to property at the described
                      premises. The loss or damage must be caused by or result from a
                      Covered Cause of Loss. . . . .
                  ...
               b. Extra Expense

                    (1) Extra Expense means reasonable and necessary expenses you incur
                        during the “period of restoration” that you would not have incurred
                        if there had been no direct physical loss of or damage to property
                        caused by or resulting from a Covered Cause of Loss.
                    ...



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(Doc. 14-1, pp. 21-22 of 174). “Covered Causes of Loss” are “RISKS OF DIRECT PHYSICAL

LOSS unless the loss is . . . [e]xcluded[.]” (Id. at pp. 22-23 of 174).

       In the provision entitled “Civil Authority,” which is the focal point of the FAC, coverage

for Business Income and Extra Expense resulting from a “Covered Cause of Loss” is extended

to:

       the actual loss of Business Income you sustain and reasonable and necessary
       Extra Expense you incur caused by action of civil authority that prohibits access
       to the described premises. The civil authority action must be due to direct physical
       loss of or damage to property at locations, other than described premises, that are
       within 100 miles of the described premises, caused by or resulting from a Covered
       Cause of Loss.

(Id. at p. 34 of 174 (underscores added)). As highlighted, three key requirements for this

coverage to apply are: (i) a civil authority action must “prohibit” access to the insured’s

premises, (ii) the civil authority action must be “due to direct physical loss of or damage to

property” at non-insured locations within 100 miles of the insured premises, and (iii) such

physical loss of or damage to property must be “caused by or resulting from a Covered Cause of

Loss” (i.e., a cause that is not excluded from coverage).

               2.      The Virus Exclusion

       The Policy contains an endorsement entitled “EXCLUSION OF LOSS DUE TO VIRUS

OR BACTERIA,” which “applies to all coverage under all forms and endorsements that

comprise” the Commercial Property Coverage Part of the Policy, “including but not limited to

forms or endorsements that cover . . . business income, extra expense, rental value or action of

civil authority.” (Doc. 14-1, at p. 150 of 174). The exclusion concisely states in plain terms that:

       We will not pay for loss or damage caused by or resulting from any virus,
       bacterium or other microorganism that induces or is capable of inducing physical
       distress, illness or disease.

(Id. (underscores added)).



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III.   LEGAL STANDARDS

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must contain

sufficient factual matter, which, if accepted as true, “state[s] a claim to relief that is plausible on

its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible “when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A

plaintiff “must plead more than labels and conclusions,” and “[f]actual allegations must be

enough to raise the right to relief above the speculative level . . . .” Twombly, 550 U.S. at 555.

“Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it stops

short of the line between possibility and plausibility of entitlement to relief.” Iqbal, 556 U.S. at

678; see also Connelly v. Lane Const. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (describing three-

step process for applying Twombly and Iqbal). A court deciding a motion to dismiss under Rule

12(b)(6) must “accept[] all of the complaint's well-pleaded facts as true.” Bruni v. City of

Pittsburgh, 824 F.3d 353, 360 (3d Cir. 2016). Excepted from this presumption of truth are any

“legal conclusions” couched as factual allegations, id., and any allegations in the complaint

which are “contradicted by the documents attached to the complaint,” Brightwell v. Lehman,

2006 WL 931702, *3 (W.D. Pa. Apr. 10, 2006); Johnson v. Dollinger, 2019 WL 1596340, *6 n.6

(E.D. Pa. Apr. 12, 2019) (“[A]llegations in the complaint that contradict facts of which the court

may take judicial notice do not need to be accepted as true” in deciding a motion to dismiss.).

       Under Pennsylvania law,5 the language of an insurance policy “must be construed in its

plain and ordinary sense, and the policy must be read in its entirety.” Pennsylvania Nat. Mut.



5
  Pennsylvania law applies here. This Court, sitting in diversity jurisdiction, applies the choice of
law rules of the forum state, i.e., Pennsylvania. Collins v. Mary Kay, Inc., 874 F.3d 176, 183 (3d
Cir. 2017). Pennsylvania courts apply “the law of the state having the most significant contacts


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Cas. Ins. Co. v. St. John, 106 A.3d 1, 14 (Pa. 2014). “When the language of an insurance policy

is plain and unambiguous, a court is bound by that language.” Id. Moreover, “policy terms

should be read to avoid ambiguities,” and “a court cannot rewrite the terms of a policy or give

them a construction in conflict with the accepted and plain meaning of the language of the

policy.” Imperial Cas. & Indem. Co. v. High Concrete Structures, Inc., 858 F.2d 128, 131 (3d

Cir. 1988); see also Guardian Life Ins. Co. of Am. v. Zerance, 479 A.2d 949, 953 (Pa. 1984)

(“We may not rewrite the insurance contract, under the guise of judicial interpretation, to expand

the coverage beyond that as provided in the policy.”).

IV.    ARGUMENT

       The facts pleaded in the FAC demonstrate as a matter of law that Plaintiff cannot prove

an entitlement to coverage under the Policy because he fails to satisfy any of the requirements for

coverage under the Civil Authority, Business Income or Extra Expense coverages. Accordingly,

the FAC’s sole cause of action for declaratory relief regarding coverage under the Policy should

be dismissed with prejudice.

       A.      Plaintiff Is Not Entitled to Civil Authority Coverage as a Matter of Law

       Civil Authority coverage insures certain business income losses and expenses if the

following three prerequisites are satisfied: (1) the business income and extra expense losses are

“caused by action of civil authority that prohibits access to the [insured] premises”; (2) the civil

authority action is “due to direct physical loss of or damage to property at locations, other than

[the insured] premises, that are within 100 miles of the [insured] premises”; and (3) the direct


or relationships with the contract.” Nationwide Mut. Ins. Co. v. West, 807 A.2d 916, 921 (Pa.
Super. Ct. 2002). Here, the Policy was issued to Shantzer at an address located in Pennsylvania
and insured property located in Pennsylvania. (Doc. 14-1, p. 5 of 174). Accordingly,
Pennsylvania law applies here. Triangle Publications, Inc. v. v. Liberty Mutual Insurance
Company, 703 F. Supp. 367, 369 (E.D. Pa. Jan. 4, 1989) (Pennsylvania law applied where
insured was domiciled in and insured property was located in Pennsylvania).


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physical loss of or damage to property is “caused by or resulting from a Covered Cause of Loss.”

(Doc. 14-1, p. 34 of 174 (emphasis added)). The FAC fails to satisfy any of these three

requirements. First, Plaintiff concedes that access was not prohibited (rather, access to the

premises was permitted for emergency treatment, for example, although Plaintiff did not perform

emergency treatment due to a lack of PPE). Second, the FAC alleges, and the Orders reflect, that

they were issued to slow the spread of the COVID-19 virus, not due to any physical loss of or

damage to property. Third, the Policy explicitly excludes losses “resulting from any virus” from

its Covered Causes of Loss. Because Plaintiff’s allegations fail to satisfy any of the three

requirements for Civil Authority coverage, dismissal is warranted as to Plaintiff’s requests for

declaratory relief regarding this coverage.

               1.      Civil Authority Coverage Does Not Apply Because the FAC Admits
                       the Order Did Not “Prohibit Access” to Plaintiff’s Premises

       Plaintiff’s allegations fail to establish the first requirement for Civil Authority coverage:

that the civil authority action “prohibit access” to the described premises, Plaintiff’s dental

offices. The FAC acknowledges that the Orders permitted dental work to be performed if

“failure to do so would be detrimental to the health of a patient,” and alleges that Plaintiff did not

perform any such work because he “lack[ed] the necessary and needed PPE” that “was difficult

if not impossible to obtain.” (FAC, ¶¶ 60-61). These allegations do not satisfy the prohibition of

access requirement for Civil Authority coverage under the plain language of the Policy.

       Courts interpreting civil authority provisions uniformly require the phrase “prohibit

access” to mean to “formally forbid” or “prevent” any access to the premises. See, e.g., Southern

Hospitality, Inc. v. Zurich American Ins., 393 F.3d 1137, 1140 (10th Cir. 2004). Limitations

restricting access are not sufficient. For example, in Ski Shawnee, Inc. v. Commonwealth Ins.

Co., 2010 WL 2696782 (M.D. Pa. July 6, 2010), the court explained that “where the action of a



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civil authority merely hinders access to the covered premises, without completely prohibiting

access, federal courts have held that such action is not covered” under civil authority provisions.

Id. at *4 (emphasis added). The court found no coverage where a “majority of the customers”

may not have been able to reach the insured’s ski resort, but there was no “complete inability to

access the premises.” Id. at *5 (emphasis added). Similarly, in Syufy Enterprises v. The Home

Insurance. Co. of Indiana, 1995 WL 129229 (N.D. Cal. Mar. 21, 1995), the court addressed civil

authority coverage for businesses affected by “dawn-to-dusk” curfews imposed by cities during

the Rodney King riots. Id. at *1. A movie theater operator cancelled showings during the curfew

period, presumably because customers could not attend. Id. at *1. The court found no coverage

because the orders did not “deny access to a Syufy theater” or “prohibit[] any individual from

entering a theater.” Id. at *2. That the insured “opted to close its theaters” as a result of the

curfews did not satisfy the policy requirement. Id.

       Civil authority coverage cases after the September 11, 2001 terrorist attacks reinforced

this distinction between orders that “prohibit access” to an insured premises and those that limit

business operations, even severely, but without prohibiting access. Courts across the country

uniformly rejected attempts by hotels, airport parking garages, and even airport gift shops to

claim coverage for losses incurred as a result of the FAA orders because they did not “prohibit

access” to the various businesses. See Southern Hospitality, 393 F.3d at 1140 (“The FAA order

prohibited access to airplane flights; it did not prohibit access to hotel operations.”); 730

Bienville Partners, Ltd. v. Assurance Co. of Am., 67 F. App’x 248 (5th Cir. 2003) (unpublished)

(“The generally prevailing meaning of ‘prohibit’ is . . . ‘to forbid by authority or command,’”

and “[i]t is undisputed that the FAA did not forbid any person to access the [insured’s] hotels”

after the September 11th attacks); Philadelphia Parking Auth. v. Fed. Ins. Co., 385 F. Supp. 2d




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280, 289 (S.D.N.Y. 2005) (While the order “may have temporarily obviated the need for

Plaintiff’s parking services, it did not prohibit access to Plaintiff’s garages and therefore cannot

be used to invoke coverage[.]”); Backroads Corp. v. Great Northern Ins., 2005 WL 1866397, *6

(N.D. Cal. 2005) (similar); Paradies Shops, Inc. v. Hartford Fire Ins. Co., 2004 WL 5704715, *7

(N.D. Ga. Dec. 15, 2004) (“The Court sees no reasonable means of construing [the] order to

ground all aircraft as an order specifically forbidding access to plaintiff’s premises” in airport

terminal stores.). Likewise, post-September 11th orders imposing “vehicular traffic restrictions”

were insufficient to trigger coverage even though they “restrain[ed] . . . normal operating

procedures” for businesses. Abner, Herrman & Brock, Inc. v. Great N. Ins. Co., 308 F. Supp. 2d

331, 335-36 (S.D.N.Y. Mar. 12, 2004); see also 54th St. Ltd. Partners, L.P. v. Fid. & Guar. Ins.

Co., 763 N.Y.S.2d 243, 244 (N.Y. App. Div. 2003).

       Here, Plaintiff acknowledges that the Orders permitted him to perform emergency or

urgent treatment in his dental offices, but he did not do so because of a lack of PPE. (FAC,

¶¶ 60-61). The Policy, however, requires that an applicable order “prohibit” access, not limit

access, and limited availability or unavailability of supplies is not relevant to this criterion for

coverage. Courts uniformly hold that the same civil authority provision at issue here requires that

an order “completely prohibit[] access”—not “merely hinder[] access”—to implicate coverage.

Ski Shawnee, 2010 WL 2696782 at *5; see also Commstop, Inc. v. Travelers Indemn. Co. of

Conn., 2012 WL 1883461, *9 (W.D. La. 2012) (“‘Civil Authority’ provision . . . require[s]”

insured to show “access to [insured property] was totally and completely prevented—i.e., made

impossible—by [the civil authority action].”); Kean, Miller, Hawthorne, D’Armond McCowan &

Jarman, LLP v. Nat’l Fire Ins. Co. of Hartford, 2007 WL 2489711, *4 (M.D. La. Aug. 29, 2007)

(holding coverage not triggered by order that “encouraged” residents to stay off streets before




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hurricane, because it did not “actually and completely prohibit[] access to the insured premises”);

By Dev., Inc. v. United Fire & Cas. Co., 2006 WL 694991, *5 (D.S.D. Mar. 14, 2006), aff’d, 206

F. App’x 609 (8th Cir. 2006). Plaintiff has not and cannot allege that the Orders “completely

prohibited” access to his business premises while permitting emergency or urgent treatment.

                 2.     Civil Authority Coverage Does Not Apply Because the FAC Does Not
                        Allege That the Orders Were “Due to Direct Physical Loss of or
                        Damage to Property”

          Plaintiff’s allegations also fail to satisfy the second requirement for Civil Authority

coverage: that “[t]he civil authority action must be due to direct physical loss of or damage to

property at locations, other than [the insured] premises, that are within 100 miles of the [insured]

premises, caused by or resulting from a Covered Cause of Loss.” (Doc. 14-1, at p. 34 of 174

(emphasis added)). Courts have consistently held that similar policy provisions require “a causal

link between prior damage and civil authority action.” Dickie Brennan & Co. v. Lexington Ins.

Co., 636 F.3d 683, 687 (5th Cir. 2011) (emphasis added); see also South Texas Med. Clinics,

P.A. v. CNA Fin. Corp., 2008 WL 450012, *8 (S.D. Tex. Feb. 15, 2008) (words “due to” in civil

authority provision require a “close causal link” between property damage and civil authority

order).

          Here, Plaintiff alleges that the Orders were required due to the need for “social

distancing” and other forms of reducing “unnecessary gatherings, personal contact and

interaction,” in order to reduce “the risk of transmission and the risk of community spread of

COVID-19.” (FAC, ¶¶ 48, 49; see also id., ¶ 70 (Orders issued “to protect the public and

minimize the risk of spread of disease”); Doc. 14-2, at p. 2 of 4 (declaring state of emergency

based on need to “mitigate the spread of COVID-19”); Doc. 14-3, at p. 2 of 3 (closing certain

businesses due to “public health emergency” created by COVID-19)). None of the Orders relied

upon and attached to the FAC make any reference to the order being issued “due to” any


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property damage. (Docs. 14-2, 14-3, 14-4, 14-5, 14-6). This is another independent reason why

Plaintiff is not entitled to coverage under the Civil Authority provision. See, e.g., Dickie

Brennan, 636 F.3d at 686 (no civil authority coverage because order was not “‘due to’ physical

damage to property”); United Air Lines, Inc. v. Ins. Co. of State of Pa., 439 F.3d 128, 134 (2d

Cir. 2006) (civil authority coverage did not apply where “the government’s subsequent decision

to halt operations at the Airport indefinitely was based on fears of future attacks” on September

11, 2001, not because of property damage to adjacent property); Kelaher, Connell & Conner,

P.C. v. Auto-Owners Ins. Co., 2020 WL 886120, *8 (D.S.C. Feb. 24, 2020) (finding no coverage

under civil authority provision where governor’s executive order, “which started the mandatory

evacuation, does not reference any ‘damage or destruction of property’”); Paradies Shops, 2004

WL 5704715 at *7 (finding no coverage under civil authority provision where order issued after

September 11th attacks “was issued as a result of the threat of additional terrorist acts,” not due

to existing property damage); South Texas Med. Clinics, 2008 WL 450012 at *10 (finding no

coverage under civil authority provision where “the mandatory evacuation order for Wharton

County was issued due to the anticipated threat of damage to the county and not due to property

damage that had occurred in Florida and the Gulf of Mexico”).

               3.     Civil Authority Coverage Does Not Apply to Losses Caused By or
                      Resulting From a Virus

       Plaintiff’s allegations also fail to satisfy the third requirement for Civil Authority

coverage: pursuant to the Policy’s express terms, an “action of civil authority” can only give rise

to coverage if, among other things, the action is taken due to physical loss or damage “caused by

or resulting from a Covered Cause of Loss.” (Doc. 14-1, at p. 34 of 174 (emphasis added)). As

Plaintiff acknowledges in the FAC, an excluded risk of loss is not a Covered Cause of Loss.

(FAC, ¶ 16).



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       The FAC focuses heavily on the Coronavirus. (See, e.g., Id., ¶¶ 37-57, 62-69). Plaintiff

alleges that the Orders were issued to reduce “the risk of transmission and the risk of community

spread of COVID-19.” (Id., ¶ 49; id., ¶ 70 (Orders were issued “to protect the public and

minimize the risk of spread of disease”); see also Doc. 14-2, at p. 2 of 4; Doc. 14-5, at p. 3 of 4;

FAC, ¶ 78(d) (seeking declaration that Policy provides coverage for civil authority closures “due

to physical loss or damage directly or indirectly from the Coronavirus”); id., ¶ 81 (similar).6

Plaintiff specifically alleges that “Plaintiff could not use its property for its intended purpose”

and “[t]herefore, the novel coronavirus has caused ‘direct physical loss of or damage to’

Plaintiff’s property insured under the policy.” (FAC, ¶ 62 (emphasis added)). As Paragraph 62 of

the FAC admits, the losses alleged are caused by or result from the Coronavirus, a risk of loss

that falls squarely within the Policy’s broad exclusion of “loss or damage caused by or resulting

from any virus, bacterium or other microorganism that induces or is capable of inducing physical

distress, illness or disease.” (Doc. 14-1, at p. 150 of 174 (emphasis added)). The exclusion

expressly applies to Civil Authority coverage. (Id. (“The exclusion . . . applies to . . . forms or

endorsements that cover business income, extra expense, rental value or action of civil

authority.” [emphasis added])).

       Pennsylvania law instructs that “[w]hen the language of an insurance policy is plain and

unambiguous, a court is bound by that language.” St. John, 106 A.3d at 14. Pennsylvania courts

evaluating policy exclusions foreclosing coverage for losses “caused by” or “resulting from”

specified noncovered risks have found the provisions unambiguous and applied their plain




6
 Although Travelers does not seek adjudication of this issue, which is beyond the scope of this
motion, the coronavirus (SARS-CoV-2) that causes COVID-19 disease does not and cannot
cause physical damage to property.


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meaning. See, e.g., Wexler Knitting Mills v. Atl. Mut. Ins. Co., 555 A.2d 903, 905 (Pa. Super. Ct.

1989); Patula v. Nw. Nat. Ins. Co. of Milwaukee, Wis., 478 A.2d 488, 490 (Pa. Super. Ct. 1984).7

       There is no question that the plain language of the virus exclusion controls here. The

FAC specifically (and necessarily) describes the “Coronavirus” as a “virus” and acknowledges

that it is “deadly,” causes “illness” and “disease,” and poses serious risks to human health.

(FAC, ¶¶ 41, 69-70). Thus, as alleged by Plaintiff, the Coronavirus is a virus “capable of

inducing physical distress, illness or disease,” which falls squarely within the scope of the virus

exclusion. (Doc. 14-1, at p. 150 of 174). The Coronavirus is not a Covered Cause of Loss and

therefore cannot give rise to Civil Authority coverage.

       Nonetheless, Plaintiff explicitly requests declarations that coverage would exist for losses

caused by or resulting from the Coronavirus (or the “pandemic”). (FAC, ¶¶ 78(d), 81). To grant

Plaintiff’s requests would “distort the meaning of the [virus exclusion’s] language or resort to a

strained contrivance” thereof. Madison Const. Co. v. Harleysville Mut. Ins. Co., 735 A.2d 100,

106 (Pa. 1999). Such a result would effectively “rewrite” the Policy, Guardian Life, 479 A.2d at

953, and “[t]o allow recovery . . . despite the unambiguous language of the insurance policy

would be to provide coverage for which premiums have not been paid.” Pennsylvania Nat. Mut.

7
  While few courts have had occasion to construe a virus or microorganism exclusion, courts
have enforced them in accordance with their clear and unambiguous language. See, e.g., Certain
Underwriters at Lloyd’s London v. Creagh, 2013 WL 3213345, *4 (E.D. Pa. June 26, 2013)
(holding that exclusion for “any loss . . . arising out of or relating to . . . [a] microorganism of
any type” precluded coverage for damage to bathroom caused by bacteria from dead body), aff’d,
563 Fed. App’x 209 (3d Cir. 2014); Doe v. State Farm Fire & Cas. Co., 2015 WL 11083311, *2
(N.H. Sept. 21, 2015) (“We conclude that a reasonable person in the position of the insured,
based upon more than a casual reading of the policy as a whole, would understand the policy to
exclude all diseases and viruses that can be transmitted from one person to another.”); Lambi v.
Am. Family Mut. Ins. Co., 498 F. App’x 655, 656 (8th Cir. 2013) (“[T]he policy excluded bodily
injury arising out of the actual or alleged transmission of a communicable disease, and infecting
another with the HIV virus clearly falls within the plain and ordinary meaning of the
transmission of a communicable disease.”); Clarke v. State Farm Fla. Ins., 123 So. 3d 583, 584
(Fla. Dist. Ct. App. 2012) (similar result, finding exclusion unambiguous).


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Cas. Co. v. Black, 916 A.2d 569, 581 (Pa. 2007) (noting that “[w]e have repeatedly enforced

contractual language to avoid gratis coverage”).

       In the FAC, Plaintiff added various allegations seeking to avoid application of the virus

exclusion on various grounds, all of which are without merit.

       First, Plaintiff alleges that, “upon information and belief,” the virus exclusion was

developed by the Insurance Services Office, Inc. (“ISO”), “in response to the SARS situation

that occurred in or around 2005-2006, which was not a Pandemic” and allegedly was not

intended to exclude coverage for a pandemic. (FAC, ¶ 25). Plaintiff further alleges that “the

Virus Exclusion was first permitted by state insurance departments due to misleading and

fraudulent statements by the ISO that property insurance policies do not and were not intended to

cover losses caused by viruses.” (FAC, ¶ 26). The foregoing allegations state no plausible legal

basis on which the Court could disregard the virus exclusion and strike it from the Policy, as

Plaintiff apparently desires. Rather, the allegation that the virus exclusion was developed in

response to SARS (severe acute respiratory syndrome) strongly supports Travelers’ position that

the virus exclusion plainly and unambiguously applies. “COVID-19” is shorthand for

Coronavirus Infectious Disease 2019, and the virus that gave rise to COVID-19 is known as
                                                                         8
SARS-CoV-2 because it is the same type of virus as the first SARS virus.

       An online article cited in the FAC, authored by attorneys who specialize in representing

policyholders in insurance coverage litigation, quotes a statement by ISO as follows:

       While property policies have not been a source of recovery for losses involving
       contamination by disease-causing agents, the specter of pandemic or hitherto

8
  See, e.g., Stephan Ludwig, PhD and Alexander Zarbock, MD, Coronaviruses and SARS-CoV-
2: A Brief Overview, ANESTH ANALG. (Apr. 20, 2020) (available at https://www.
ncbi.nlm.nih.gov/pmc/articles/PMC7173023/) (explaining relationship between the original
SARS-CoV virus first identified in 2002, and the SARS-CoV-2 virus first identified in December
2019).


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       unorthodox transmission of infectious material raises the concern that insurers
       employing such policies may face claims in which there are efforts to expand
       coverage and to create sources of recovery for such losses, contrary to policy
              9
       intent.

This statement demonstrates that, contrary to Plaintiff’s allegations, the virus exclusion applies

precisely to pandemics such as that which is now occurring as a result of SARS-CoV-2 and

COVID-19. Moreover, Plaintiff’s reliance on a statement by ISO that property insurance policies

had not been a source of recovery for disease-causing agents is misplaced. Almost 100 years had

passed since the last pandemic and, in any event, viruses and other disease causing agents harm

people and not property. See Social Life Magazine, Inc. v. Sentinel Ins. Co. Ltd., No. 20 Civ.

3311 (VEC), tr. at 5, 15 (S.D.N.Y. May 14, 2020) (Ex. A hereto) (court explaining in case

making allegations similar to Plaintiff’s allegations that COVID-19 “damages lungs,” “[i]t

doesn’t damage printing presses” or other property, and “this is just not what’s covered under
                          10
these insurance policies”).

       Second, Plaintiff vaguely asserts that Travelers’ denial of coverage was somehow a

violation of public policy. (FAC, ¶ 53(e), 78(f)). Under Pennsylvania law, “[p]ublic policy is to

be ascertained by reference to the laws and legal precedents and not from general considerations

of supposed public interest.” Paylor v. Hartford Ins. Co., 640 A.2d 1234, 1235 (Pa. 1994)

(quoting Guardian Life Insurance Co. v. Zerance, 479 A.2d 949, 954 (Pa. 1984)).

       It is only when a given policy is so obviously for or against the public health,
       safety, morals or welfare that there is a virtual unanimity of opinion in regard to
       it, that a court may constitute itself the voice of the community in [declaring what
       is or is not in accord with public policy].


9
 FAC, ¶ 26 (quoting Richard P. Lewis, et al., Here We Go Again: Virus Exclusion for COVID-
19 and Insurers, PROPERTYCASUALTY360 (Apr. 7, 2020), https://www.propertycasualty360.
com/2020/04/07/here-we-go-again-virus-exclusion-for-covid-19-and-insurers/).
10
   Plaintiff’s allegations are also immaterial because Plaintiff does not allege that Travelers
adopted or relied upon any alleged statement by ISO.


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Id. (quoting Mamlin v. Genoe, 17 A.2d 407, 409 (Pa. 1941)); see also Williams v. GEICO Gov’t

Employees Ins. Co., 32 A.3d 1195, 1200, 1204 (Pa. 2011) (“We consistently have been reluctant

to invalidate a contractual provision due to public policy concerns,” and a policyholder “must

meet a high burden to invalidate a contractual provision due to a conflict with public policy”; “it

is not the proper function of this Court to weigh competing public policy interests; rather that

task is best suited for the legislature.”). Plaintiff alleges no basis on which this Court could

invalidate the virus exclusion on public policy grounds. See, e.g., Seiler v. Am. Int'l Ins. Co., 71

F. App’x 951, 954-55 (3d Cir. 2003) (explaining that “[t]he standard set by the Pennsylvania

courts for determining whether a contract provision violates public policy is very high,” and

“[t]his Court cannot discern how [the insurer’s] ‘household exclusion’ is so obviously against the

public health, safety, morals, or welfare of Pennsylvania’s citizens as to be violative of public

policy.”).

       Third, Plaintiff maintains that the virus exclusion does not apply “because Plaintiff’s

losses were not directly caused by a virus,” but “[i]nstead, Plaintiff’s losses were caused by entry

of Civil Authority Order[s] . . . to mitigate the spread of COVID-19.” (FAC, ¶ 35). But under the

plain language of the Civil Authority provision, the Orders themselves cannot be the Covered

Cause of Loss. The Civil Authority provision states that “[t]he civil authority action must be due

to direct physical loss of or damage to property at locations, other than [the insured] premises,

that are within 100 miles of the [insured] premises, caused by or resulting from a Covered Cause

of Loss.” (Doc. 14-1, at p. 34 of 174). The Covered Cause of Loss must cause the direct physical

loss or damage that results in the civil authority action. Plaintiff’s proposed interpretation, which

appears to be that the “direct physical loss of or damage to property” was caused by the Orders,

reads the Civil Authority provision backwards. The physical loss or damage must cause the civil




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authority action, not vice versa. See also Prime All. Grp., Ltd. v. Hartford Fire Ins. Co., 2007

WL 9703576, *4 (S.D. Fla. Oct. 19, 2007) (“The order of civil authority cannot in any

reasonable manner be construed as a ‘peril.’”).

       Moreover, there can be no reasonable dispute that the virus was the cause of Plaintiff’s

alleged loss. Plaintiff’s own allegations demonstrate that the Orders are inextricably intertwined

with the reason they were issued: the Coronavirus. (See, e.g., FAC, ¶ 49 (stating Orders issued to

reduce “the risk of transmission and the risk of community spread of COVID-19”); id., ¶ 70

(stating Orders issued “to protect the public and minimize the risk of spread of disease”).

Plaintiff cannot avoid the application of the virus exclusion by recharacterizing its loss as being

caused by Orders that were issued to slow the spread of the virus rather than being caused by the

virus itself. Moreover, the virus exclusion expressly applies to the Civil Authority, Business

Income and Extra Expense coverages. (Doc. 14-1, at p. 150 of 174). A virus cannot, in and of

itself, close a business; rather, some form of human intervention (such as by government order or

business decision) is obviously required to cause a business income or extra expense loss. To

adopt Plaintiff’s theory that the Orders, divorced from their purpose, constitute a Covered Cause

of Loss not only would fly in the face of Plaintiff’s express allegations regarding the Orders, it

would render the virus exclusion nugatory and “rewrite” the Policy. Guardian Life, 479 A.2d at

953.

       Thus, as a matter of law, Plaintiff is not entitled to a declaration establishing Civil

Authority coverage under the Policy because the FAC does not and cannot allege (1) that the

Orders “prohibited access” to Plaintiff’s premises; (2) that the Orders were “due to direct

physical loss of or damage to property” within 100 miles of the insured premises; or (3) that the

physical loss or damage to property was “caused by or resulting from a Covered Cause of Loss.”




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        B.      Business Income and Extra Expense Coverage Similarly Does Not Apply as a
                Matter of Law

        The focal point of the FAC is Civil Authority coverage. Yet Plaintiff states in passing that

“the Policy provides business income coverage in the event that [the] Coronavirus has directly or

indirectly caused a loss or damage at the insured premises or immediate area of the Insured

Properties.” (FAC, ¶ 78(h); see also id., ¶ 81). The FAC also makes other passing references to

Business Income and Extra Expense coverages. (Id., ¶¶ 13, 15,18, 75). To the extent this is

intended to plead a claim under the Business Income and Extra Expense provisions, this claim

also fails as a matter of law.

        The Policy’s Business Income provision provides coverage for “actual loss of Business

Income . . . due to the necessary ‘suspension’ of [Plaintiff’s] ‘operations’” only if (1) the

suspension is “caused by direct physical loss of or damage to property at the [insured] premises,”

and (2) the direct physical loss or damage is “caused by or result[s] from a Covered Cause of

Loss.” (Doc. 14-1, at pp. 21-22 of 174). The Extra Expense provision similarly requires “direct

physical loss of or damage to property caused by or resulting from a Covered Cause of Loss.”

(Id. at p. 22 of 174). Here, Plaintiff’s allegations fail to satisfy either of these two essential

requirements for Business Income and Extra Expense coverage.

                1.      The FAC Fails to Plead Any “Direct Physical Loss of or Damage to”
                        Property at the Insured Premises

        The FAC includes allegations regarding the Coronavirus purportedly causing physical

loss or damage generally, (see FAC, ¶ 37 (alleging that COVID-19 is “a cause of real physical

loss and damage”); id., ¶ 41 (alleging that “the deadly virus physically infects and stays on

surfaces”)), and suggests that the Coronavirus potentially could cause damage to Plaintiffs’




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property.11 Yet Plaintiff expressly disavows any suggestion that the Coronavirus was present in

his own premises, affirmatively stating that he is not seeking “any determination of whether the
                                                                         12
Coronavirus is physically in or at the Insured Properties.” (Id., ¶ 82).

        Because Plaintiff cannot plead that any property at the locations described in the Policy

was physically altered or impacted in any way, Plaintiff attempts to satisfy the “direct physical

loss of or damage to property” requirement by alleging that “loss of use” of property constitutes

“direct physical loss or damage,” and that “Plaintiff could not use its property for its intended

purpose.” (FAC, ¶¶ 34, 62). Courts have repeatedly rejected similar arguments, and no court has

ever held that a temporary restriction of the use of a property or even a required closure of a

property as a result of a government order is a “direct physical loss of or damage to property.”

For example, in Roundabout Theatre Co. v. Cont’l Cas. Co., 302 A.D.2d 1 (N.Y. App. Div.

2002), a Broadway theatre was forced to cancel numerous performances of a musical when the

city closed off the block on which it was located after scaffolding attached to a nearby building

collapsed. Id. at 2-3. After its insurance claim was denied, the theatre owner sued its property

insurer to recover for its business interruption losses. Id. at 4. Reversing the trial court’s entry

of summary judgment for the insured, the appellate court rejected the trial court’s conclusion that

“loss of” includes “loss of use” of property, and held that that “the plain meaning of the words

11
  Although beyond the scope of this motion, what the FAC describes would not constitute direct
physical loss or damage as a matter of law. See Social Life Magazine, tr. at 5, 15 (Ex. A hereto)
(court explaining in case making allegations similar to Plaintiff’s allegations that COVID-19
“damages lungs,” “[i]t doesn’t damage printing presses” or other property, and “this is just not
what’s covered under these insurance policies”).
12
   Plaintiff further alleges that “contamination of the Insured Property would be a direct physical
loss requiring remediation to clean the surfaces,” (FAC, ¶ 37 (emphasis added)), and that
Plaintiff’s premises are “susceptible” to contamination, (id., ¶¶ 63, 64), again admitting that
Plaintiff is not asserting that the virus is present in his offices. To the extent Plaintiff alleges that
“[t]he virus is physically impacting the Insured Premises,” (id., ¶ 65), that allegation can only be
read, consistent with the other allegations in the FAC, as meaning something other than that the
virus “is physically in or at the Insured Properties,” which is disavowed in Paragraph 82.


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‘direct’ and ‘physical’ narrows the scope of coverage and mandates the conclusion that losses

resulting from off-site property damage do not constitute covered perils under the policy.” Id. at

7 (citations omitted).

       Other courts have rejected similar business interruption claims based on loss of use. See,

e.g., Harry's Cadillac-Pontiac-GMC Truck Co. v. Motors Ins. Corp., 486 S.E.2d 249, 251 (N.C.

App. 1997) (finding no “physical loss” sufficient to trigger business interruption coverage where

heavy snowstorm made insured premises inaccessible); Pentair, Inc. v. American Guar. and

Liab. Ins. Co., 400 F.3d 613, 617 (8th Cir. 2005) (rejecting insured’s argument that “mere loss of

use or function of property constitutes ‘direct physical loss or damage’”); Newman Myers

Kreines Gross Harris, P.C. v. Great N. Ins. Co., 17 F. Supp. 3d 323, 331 (S.D.N.Y. 2014) (“The

words ‘direct’ and ‘physical,’ which modify the phrase ‘loss or damage,’ ordinarily connote

actual, demonstrable harm of some form to the premises itself, rather than forced closure of the

premises for reasons exogenous to the premises themselves, or the adverse business

consequences that flow from such closure.”); Northeast Georgia Heart Ctr., P.C. v. Phoenix Ins.

Co., 2014 WL 12480022, *6 (N.D. Ga. May 23, 2014) (“The court will not expand ‘direct

physical loss’ to include loss-of-use damages when the property has not been physically

impacted in some way. To do so would be equivalent to erasing the words ‘direct’ and ‘physical’

from the policy.”); J. O. Emmeric & Assocs., Inc. v. State Auto Ins. Cos., 2007 WL 9775576, at

*5 (S.D. Miss. Nov. 19, 2007) (where insured was denied access to computer data during power
                                                                     13
outage, there was no “direct physical loss of or damage to” property).


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  Along the same lines, courts have repeatedly held that a defect in title to property which has
the legal effect of depriving the insured of the property, is not a tangible, “physical loss,” and
therefore not covered by property insurance policies. See Dae Assocs., LLC v. AXA Art Ins.
Corp., 158 A.D.3d 493, 494 (N.Y. App. Div. 2018); HRG Dev. Corp. v. Graphic Arts Mut. Ins.
Co., 527 N.E.2d 1179, 1180 (Mass. App. Ct. 1988); Nevers v. Aetna Ins. Co., 546 P.2d 1240,


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       Consistent with all of these prior decisions, in the first decision to address this issue in a

COVID-19 case, a Michigan Circuit Court judge recently granted the equivalent of a motion to

dismiss, ruling from the bench that there were “no allegations of direct physical loss of or

damage to . . . property” under the policy because that “has to be something with material

existence,” “[s]omething that is tangible,” “that alters the physical integrity of the property.”

Gavrildes Mgmt. Co. v. Michigan Ins. Co., Case No. 20-258-CB-C30, tr. at 18-19 (Mich. Cir. Ct.

July 1, 2020) (Ex. B hereto). The judge further stated that “it seems like the plaintiff is saying

that the physical requirement is met because people were physically restricted from dine-in

services [at the plaintiffs’ restaurants],” “[b]ut, that argument is just simply nonsense [a]nd it

comes nowhere close to meeting the requirement that . . . there has to be some physical alteration

to or physical damage or tangible damage to the integrity of the building.” Id. at 20.

       The Third Circuit has addressed the meaning of “direct physical loss or damage” in two

cases where, as here, it was alleged that an insured could no longer use the insured premises for

its intended purpose. However, neither decision stands for the proposition that a loss of use,

regardless of how it was caused, constitutes “direct physical loss or damage to property.” Rather,

under these decisions, the “direct physical loss or damage” requirement is satisfied only where a

demonstrable, physical alteration of the property from an external cause results in a total loss of

use or function.

       In Port Authority of New York and New Jersey v. Affiliated FM Ins. Co., 311 F.3d 226

(3d Cir. 2002), the Third Circuit was called upon to decide whether, under the law of New York

or New Jersey, the existence of asbestos-containing building materials in a building constituted

“direct physical loss or damage” to property within the meaning of commercial property policies.


1241 (Wash. Ct. App. 1976); Thane Hawkins Polar Chevrolet, Inc. v. Truck Ins. Exch., 1995 WL
70152, *2 (Minn. Ct. App. Feb. 21, 1995) (unpublished).


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The Third Circuit answered the question in the negative, affirming the district court’s entry of

summary judgment for the insurers. Id. at 236. In so ruling, the court acknowledged that “[i]n

ordinary parlance and widely accepted definition, physical damage to property means ‘a distinct,

demonstrable, and physical alteration’ of its structure,” and then further stated:

       “[P]hysical loss or damage” occurs only if an actual release of asbestos fibers
       from asbestos containing materials has resulted in contamination of the property
       such that its function is nearly eliminated or destroyed, or the structure is made
       useless or uninhabitable, or if there exists an imminent threat of the release of a
       quantity of asbestos fibers that would cause such loss of utility. The mere
       presence of asbestos, or the general threat of future damage from that presence,
       lacks the distinct and demonstrable character necessary for first-party insurance
       coverage.

Id. at 235. Because the summary judgment record revealed no evidence of actual contamination

or an imminent threat of asbestos contamination in any of the insured buildings, the court held

that no “direct physical loss or damage” had occurred. Id. at 236.

       A few years after deciding Port Authority, the Third Circuit, in an unpublished opinion,

applied the same test to resolve a coverage dispute arising from bacterial contamination of

property in Pennsylvania. In Motorists Mutual Ins. Co. v. Hardinger, 131 F. App’x 823 (3rd Cir.

2005), the insureds fell ill shortly after moving into a home they had just purchased. Id. at 824.

After testing confirmed that the artesian well connected to the home was contaminated with

dangerous levels of E-coli bacteria, the insureds vacated the premises and conveyed it back to

their mortgagee. Id. The district court granted summary judgment for the insurer based on its

determination that no “direct physical loss” had occurred. Id. at 825. In its unpublished decision

vacating the lower court’s ruling, the Third Circuit predicted that the Pennsylvania Supreme

Court would adopt the test for “direct physical loss or damage” articulated in Port Authority, and

remanded the case to the district court so that a jury could decide “whether the functionality of




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the [insured’s] property was nearly eliminated or destroyed, or whether their property was made
                                                                                    14
useless or uninhabitable” by the presence of harmful E-coli bacteria. Id. at 826-27.

       Port Authority and Motorists Mutual are readily distinguishable on the basis that there

was either a physical impact or physical manifestation at the insured property that allegedly

made the premises uninhabitable or entirely unusable. Here, in contrast, Plaintiff’s claimed “loss

of use” does not involve any physical impact or manifestation at the insured premises. The FAC

does not allege that Coronavirus was ever present in any of Plaintiff’s dental offices, let alone

that it contaminated any property in those offices to a point where the function or use of the

offices was eliminated (assuming that were even possible where the virus can be readily

eliminated by cleaning). Indeed, it bears repeating that Plaintiff expressly disavows the presence

of Coronavirus in his offices. (FAC, ¶ 82). Thus, while the presence of Coronavirus within a

building would not constitute “direct physical loss of or damage to property,” that simply is not

even claimed in this case.

               2.     Plaintiff’s Proposed Interpretation of the Policy is Contrary to Basic
                      Rules of Insurance Policy Interpretation

       In several respects, Plaintiff’s position is contrary to the basic principle of Pennsylvania

insurance law that “an insurance policy, like every other written contract, must be read in its

entirety and the intent of the policy is gathered from consideration of the entire instrument.”

Riccio v. Am. Republic Ins. Co., 705 A.2d 422, 426 (Pa. 1997). First, when the Policy covers a

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   Travelers does not concede that the unpublished opinion in Motorists Mutual correctly sets
forth the law of Pennsylvania on the meaning of “direct physical loss of or damage to property,”
and maintains that Pennsylvania would likely follow the majority rule nationwide, under which
“[t]hat the loss needs to be ‘physical,’ given the ordinary meaning of the term, is ‘widely held to
exclude alleged losses that are intangible or incorporeal, and, thereby, to preclude any claim
against the property insurer when the insured merely suffers a detrimental economic impact
unaccompanied by a distinct, demonstrable, physical alteration of the property.’” MRI
Healthcare Ctr. of Glendale, Inc. v. State Farm Gen. Ins. Co., 187 Cal. App. 4th 766, 779 (Cal.
Ct. App. 2010) (quoting 10A COUCH ON INSURANCE § 148:46, pp. 148-81) (emphasis added).


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Business Income or Extra Expense loss, the time period for such coverage is the “period of

restoration,” (Doc. 14-1, at pp. 21-22 of 174), which generally ends on “[t]he date when the

property at the described premises should be repaired, rebuilt or replaced with reasonable speed

and similar quality,” (id. at p. 56 of 174 (emphasis added)). Courts have repeatedly recognized

that this definition contemplates that Business Income coverage requires a physical change to

insured property that is capable of being remedied through repair or replacement. See, e.g.

Newman Myers, 17 F. Supp. 3d at 332 (“The words ‘repair’ and ‘replace’ [in the policy’s

definition of ‘period of restoration’] contemplate physical damage to the insured premises as

opposed to loss of use of it.”); Philadelphia Parking Auth. v. Fed. Ins. Co., 385 F. Supp. 2d 280,

287 (S.D.N.Y. 2005) (“‘Rebuild,’ ‘repair’ and ‘replace’ all strongly suggest that the damage

contemplated by the Policy is physical in nature.”); Harry’s Cadillac, 486 S.E.2d at 251 (“The

business interruption clause does not cover all business interruption losses, but only those losses

requiring repair, rebuilding or replacement.”); Roundabout Theatre, 302 A.D.2d at 7-8 (similar

analysis).

       Second, the Policy, when read as a whole, makes clear that a bare loss of use

unaccompanied by any physical loss or damage is not covered because the Policy contains an

express exclusion stating that “[w]e will not pay for loss or damage caused by or resulting from

. . . loss of use or loss of market.” (Doc. 14-1, at 43 of 174). Construing the phrase “direct

physical loss or damage” to encompass a loss of use unaccompanied by a physical alteration of

insured property would nullify the “loss of use” exclusion altogether. See Toffler Assocs., Inc. v.

Hartford Fire Ins. Co., 651 F. Supp. 2d 332, 344 n.3 (E.D. Pa. 2009) (“The Court must avoid

interpreting the Policy in a way that makes any term meaningless or superfluous.”); see also

Schneider Equip., Inc. v. Travelers Indem. Co. of Ill., 2006 WL 2850465, *1, *5-6 (D. Or. Sept.




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29, 2006) (where well could not produce anticipated volume of water and was determined to be

unusable as a result of a damaged screen, court held that loss of use exclusion, among other

exclusions, applied).15

       Third, if, as Plaintiff maintains, the mere loss of use of its insured premises following a

governmental order restricting their operations constituted “direct physical loss of or damage to

property,” the Civil Authority provision, which is an “Additional Coverage” that extends the

scope of the Business Income and Extra Expense coverages, would serve no purpose. If

Plaintiff’s position were adopted, any action of civil authority that prohibits access to the insured

premises within the meaning of the Civil Authority provision would constitute “direct physical

loss of or damage to property at [the insured] premises,” thereby triggering the Business Income

and Extra Expense coverages. Thus, there would be no reason for the Policies to include the

“Additional Coverage” for Civil Authority. Again, an insurance policy should not be construed

in a manner that renders any of its provisions superfluous. See Toffler Assocs., 651 F. Supp. 2d at

344 n.3. In addition to all of the other reasons set forth above, Plaintiff’s allegations that the

Business Income and Extra Expense coverages apply to a governmental order restricting the use

of insured premises contravenes these basic principles of insurance policy interpretation and

must be rejected.

               3.         Plaintiff’s Alleged Losses Were Not Caused by a Covered Cause of
                          Loss

       Even if Plaintiff had alleged direct physical loss of or damage to property at the insured

premises, there is no Business Income or Extra Expense coverage for the same reason that there

is no Civil Authority coverage: Plaintiff has not alleged a Covered Cause of Loss. The virus


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  Of course, when a covered cause of loss, such as a fire, results in physical loss of or damage to
property and that causes a suspension of operations, the “loss of use” exclusion does not apply
because the cause of the loss is the fire.


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exclusion expressly applies to Business Income and Extra Expense coverage. (Doc. 14-1, at p.

150 of 174 (“The exclusion . . . applies to . . . forms or endorsements that cover business income,

extra expense, rental value or action of civil authority.” [emphasis added])). The FAC focuses

heavily on the Coronavirus, (FAC, ¶¶ 37-57, 62-69), and specifically alleges that “the novel

coronavirus has caused ‘direct physical loss of or damage to’ Plaintiff’s property insured under

the policy.” (FAC, ¶ 62 (emphasis added)). For the same reasons set forth in Section IV.A.3

above, the virus exclusion applies to Plaintiff’s claim for Business Income and Extra Expense

coverage, just as it applies to the Civil Authority coverage.

       To the extent that Plaintiff attempts to end-run the virus exclusion by alleging that its

claimed losses under the Business Income and Extra Expense coverages stem from the Orders

rather than the Coronavirus, (see, e.g., FAC, ¶ 35), in addition to the reasons set forth in Section

IV.A.3 above, this argument also fails with respect to the Business Income and Extra Expense

coverages because the Orders are a separately excluded cause of loss under the Acts or Decisions
                                   16
and Ordinance or Law exclusions.

       First, the Policy excludes “loss or damage caused by or resulting from . . . [a]cts or

decisions, including the failure to act or decide, of any person, group, organization or

governmental body.” (Doc. 14-1, at p. 45 of 174 (emphasis added)). Courts have held that

similarly-worded Acts or Decisions exclusions are unambiguous and bar coverage for loss or

damage caused by similar types of governmental orders. See, e.g., Jernigan v. Nationwide Mut.

Ins. Co., 2006 WL 463521, at *10-11 (N.D. Cal. Feb. 27, 2006) (Acts or Decisions exclusion

applied to loss caused by, among other acts or decisions, a town’s “stop-work order”); Cytopath


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   The Acts or Decisions and Ordinance or Law exclusions do not preclude Civil Authority
coverage when the specific prerequisites for that coverage are satisfied. As discussed above,
Plaintiff has not and cannot allege the prerequisites for such coverage.


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Biopsy Lab., Inc. v. U.S. Fid. & Guar. Co., 774 N.Y.S.2d 710, 711 (N.Y. App. Div. 2004) (Acts

or Decisions exclusion barred coverage where “the real losses claimed herein resulted from

refusal by the authorities to permit resumption of operations”); Johnson Gallagher Magliery,

LLC v. Charter Oak Fire Ins. Co., 2014 WL 1041831, *7 (S.D.N.Y. Mar. 18, 2014) (granting

insurer’s motion for partial summary judgment on Acts or Decisions exclusion where electric

utility’s decision to shut down power resulted in plaintiff’s business income loss).

       Second, the Policy’s Ordinance or Law exclusion provides that “We will not pay for loss

or damage caused directly or indirectly by . . . [t]he enforcement of any ordinance or law . . .

[r]egulating the construction, use or repair of any property.” (Doc. 14-1, at p. 41 of 174). As a

New York appellate court has explained, this exclusion “clearly and unambiguously excludes

coverage for losses caused directly or indirectly by the enforcement of any ordinance or law

regulating the . . . use . . . of any property” and “excludes coverage for losses, including business

income losses, caused by the enforcement of the law.” Ira Stier, DDS, P.C. v. Merchants Ins.

Grp., 127 A.D.3d 922, 924 (N.Y. App. Div. 2015) (holding that, where dental practice could not

operate for eleven months as a result of town’s enforcement of ordinance requiring plaintiff to

obtain a certificate of occupancy, Ordinance or Law exclusion precluded coverage for plaintiff’s

business income losses).

       In summary, the Policy’s Business Income and Extra Expense coverages apply only

where the Plaintiff’s business operations are suspended due to “direct physical loss of or damage

to” property at insured premises caused by a Covered Cause of Loss. Because the FAC has not

pled the existence of any direct physical loss of or damage to property at Plaintiff’s premises, let

alone that such physical loss of or damage to property is due to a Covered Cause of Loss,




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Plaintiff’s claims for declaratory relief in relation to Business Income and Extra Expense

coverage fail as a matter of law and should be dismissed.

       C.      Dismissal of the Sole Cause of Action Is Proper Because Plaintiff Is Not
               Entitled to Any of His Requested Declarations or Damages

       Because Plaintiff cannot demonstrate as a matter of law that he is plausibly entitled to

coverage under the Policy’s Civil Authority, Business Income or Extra Expense provisions,

Plaintiff is not entitled to any of the declarations he seeks. Plaintiff has specifically requested

nine declarations pertaining to aspects of Civil Authority, Business Income and Extra Expense

coverage under the Policy. (FAC, at pp. 16-17 (Prayer for Relief)). Because no cognizable legal

theory or set of facts has been alleged to sustain any of the requested declarations, the FAC

should be dismissed.

V.     CONCLUSION

       For all of the reasons stated above, Plaintiff has failed to state any claim upon which

relief may be granted. Thus, Travelers respectfully requests that the Court dismiss the FAC in its

entirety and with prejudice under Federal Rule of Civil Procedure 12(b)(6).

                                             Respectfully submitted,

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